                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 COX COMMUNICATIONS, INC., et al.,
                                              Case No. _______ - MISC __________
                        Movants,
                                              Underlying Litigation:
                v.                            Sony Music Entertainment, et. al. v. Cox
                                              Communications, Inc., et al., Case No. 18-cv-
 THE RECORDING INDUSTRY                       00950-LO-JFA (E.D. Va.)
 ASSOCIATION OF AMERICA,
                                              ORAL ARGUMENT REQUESTED
                        Respondent.


            COX’S MOTION TO COMPEL THE RIAA’S COMPLIANCE WITH COX’S
                          SUBPOENA DUCES TECUM


       PLEASE TAKE NOTICE of Movants Cox Communications, Inc.’s and CoxCom, LLC’s

(collectively, “Cox”) motion to compel the Recording Industry Association of America’s

compliance with Cox’s subpoena duces tecum.

       PLEASE TAKE FURTHER NOTICE that, in support of its motion, Cox relies on the

memorandum of law submitted with this Motion and the Declaration of Diana Hughes Leiden and

all exhibits annexed thereto.

       PLEASE TAKE FURTHER NOTICE that a Proposed Order granting this motion is

attached.
Dated: August 21, 2019       Respectfully submitted,

                             /s/ Thomas M. Buchanan
                             Thomas M. Buchanan (Bar No.
                             337907)
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                             Attorney for Petitioners Cox
                             Communications, Inc. and CoxCom,
                             LLC




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                               CERTIFICATE OF SERVICE

       I certify that on August 21, a copy of the foregoing Movant’s Motion to Compel

Compliance with Cox’s Subpoena Duces Tecum was served by e-mail and via Federal Express on

the following:

Jeffrey M. Gould
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Counsel for both the Respondent Recording
Industry Association of America and
Plaintiffs in the underlying action
pending in the Eastern District of Virginia
(Case No. 18-cv-00950-LO-JFA).


                                                  /s/ Thomas M. Buchanan
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                                                  Attorney for Movants Cox Communications,
                                                  Inc. and CoxCom, LLC




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